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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

   CHAMBER OF COMMERCE OF THE
   UNITED STATES OF AMERICA, ET AL.,

        Plaintiffs,

   v.                                                  No. 4:24-cv-00213-P

   CONSUMER FINANCIAL PROTECTION
   BUREAU, ET AL.,

        Defendants.

                           OPINION & ORDER
        Before the Court is Plaintiffs’ Motion for Preliminary Injunction.
   ECF No. 3. For the reasons below, the Court GRANTS the preliminary
   injunction and STAYS the Consumer Financial Protection Bureau’s
   (“CFPB”) amendment to Regulation Z, 12 C.F.R. § 1206 (“Final Rule”).

                              BACKGROUND
        In January 2022, President Biden’s appointed CFPB Director Rohit
   Chopra issued a bulletin characterizing credit card late fees as “junk
   fees.” A few weeks later, the CFPB issued a request for information from
   consumers to give their viewpoints and assist in determining whether
   such fees should bear that taxonomy. Before receiving responses, on
   June 22, 2022, the CFPB issued advance notice of proposed rulemaking
   requesting information on card issuers’ costs and the deterrent effects
   of late fees. The CFPB gave card issuers thirty days to respond, with a
   ten-day extension added thereafter. They declined card issuers’ requests
   for additional extensions.
       On February 1, 2024, the Biden administration announced new
   regulations and legislative proposals designed to combat the labeled
   junk fees. One of these, the Final Rule at issue in this case, would reduce
   the late-fee safe harbor from $30 to $8, would no longer adjust this
   amount for inflation, and would reduce the cap on late fees to twenty-
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   five percent of the missed minimum payment. The Final Rule was
   presented on March 5, 2024—just two days before President Biden’s
   State of the Union Address—and is slated to go into effect on May 14.1
      On March 7, 2024, the Chamber of Commerce of the United States of
   America, along with the Longview and Fort Worth Chambers of
   Commerce, the American Bankers Association, the Consumer Bankers
   Association, and the Texas Association of Business sued the CFPB and
   Director Rohit Chopra in this Court. Their complaint alleges violations
   of the Appropriations Clause and separation of powers, as well as
   violations of the APA, CARD and Dodd-Frank Acts. Accordingly, they
   seek a declaratory judgment that the Final Rule violates the APA. That
   same day, they filed a Motion for Preliminary Injunction to stay the
   Final Rule from going into effect, accompanied with an emergency
   motion for an expedited briefing schedule. Plaintiffs did not request the
   issuance of a Temporary Restraining Order. However, Plaintiffs asked
   the Court for a ten-day turnaround on their request for injunctive relief.
   After filing, Plaintiffs’ case played musical chairs: it was originally filed
   before Senior Judge Terry Means, it was then reassigned to Judge Reed
   O’Connor, Judge O’Connor recused from the case, and it was reassigned
   the undersigned. This case’s procedural history gets even more abstruse
   after that.
      After an initial review of the record, on Monday, March 18, a mere
   two business days after receiving the case, the undersigned ordered the
   parties to file supplemental briefing to determine whether the Fort
   Worth Division of this Court is the appropriate venue for this case.2 In
   response, Plaintiffs filed a motion on March 19 asking the Court to
   consider their request for injunctive relief before assessing venue. That
   motion informed the Court that it need not worry about venue and

       1
          Importantly, the Court offers no opinion and has no opinion as to whether the CFPB’s
   Final Rule reducing the credit card late fee cap is good or bad policy, as that is irrelevant
   to the Court’s analysis.
        2
          It has been the Court’s standard practice as both a state and federal trial judge to ask
   for briefing on venue as early as possible in a case when it appears from a cursory review
   of the pleadings, as here, that the ties to the Fort Worth Division are attenuated., See, e.g.,
   Progressive Cnty. Mut. Ins. Co. v. Keechi Transp., LLC, No. 4:22-CV-00533-P,
   2022 WL 17095927 (N.D. Tex. Nov. 21, 2022) (Pittman, J.).




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   requested a ruling on Plaintiffs’ preliminary injunction by Friday,
   March 22. The motion also stated that Plaintiffs would seek appellate
   review if the Court did not rule on the preliminary injunction by March
   22, arguing any later decision would “effectively deny” their request for
   injunctive relief because they must provide printed notice to millions of
   customers by March 26. It is again worth mentioning that the Final Rule
   does not go into effect until May 14 and no TRO was requested by
   Plaintiffs.
      The following day, on March 20, the Court denied Plaintiffs’
   expedited motion, explaining that the Court, per its longtime docket-
   management practice, must first determine whether venue is proper
   before ruling on an injunction that may not appropriately be before it.
   The next day, Defendants filed their Motion to Transfer the case to the
   United States District Court for the District of Columbia. Four days
   later, as pledged, Plaintiffs filed an interlocutory appeal of the Court’s
   “effective denial” of their expedited preliminary injunction. On March
   26, the Court ordered the parties to meet and prepare a proposed
   scheduling order, set a hearing on the preliminary injunction for April 2
   (the Court’s first available opportunity), and ordered the parties to
   attend mediation by April 19. However, on March 28, having found
   venue improper here, the Court transferred the case to the District of
   Columbia. The Fifth Circuit stayed that order so it could hear oral
   arguments on Plaintiffs’ mandamus motion. The Fifth Circuit then
   granted mandamus relief, ordering that this case be reopened in Fort
   Worth on April 8. Thereafter, at 9:53 p.m. on April 30, the Fifth Circuit
   released an opinion in which they held that this Court had indeed
   “effectively denied” Plaintiffs’ expedited motion for preliminary
   injunction. The Fifth Circuit maintains jurisdiction over the appeal but
   ordered a limited remand directing this Court to make particularized
   findings on the preliminary injunction’s merits by May 10, bringing us
   here.




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      If the timeline seems hard to follow, the Court agrees. Here is a
   helpful visual of the timeline spanning from the filing of Plaintiffs’ case
   until the date the Final Rule goes into effect:




                           LEGAL STANDARD
       “To be entitled to a preliminary injunction, a movant must establish
   (1) a likelihood of success on the merits; (2) a substantial threat of
   irreparable injury; (3) that the threatened injury if the injunction is
   denied outweighs any harm that will result if the injunction is granted;
   and (4) that the grant of an injunction will not disserve the public
   interest.” Ladd v. Livingston, 777 F.3d 286, 288 (5th Cir. 2015) (quoting
   Trottie v. Livingston, 766 F.3d 450, 452 (5th Cir. 2014)). The burden of
   persuasion on all requirements is on the movant party. See Big Tyme
   Invs., LLC v. Edwards, 985 F.3d 456, 464 (5th Cir. 2021). As such, if the
   movant fails to establish any of the above elements, the Court must deny
   a preliminary injunction. See Miss. Power & Light Co. v. United Gas
   Pipe Line Co., 760 F.2d 618, 621 (5th Cir. 1985). That’s because
   preliminary injunctions are “an extraordinary and drastic remedy.”
   Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567, 573 (5th Cir.
   1974).




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                                ANALYSIS
   A. Preliminary Injunction
       Plaintiffs contend that they are entitled to a preliminary injunction
   for two main reasons: 1) the Final Rule was promulgated with funds
   drawn in violation of the Appropriations Clause; and 2) the Final Rule
   violates the CARD Act, TILA, and APA. See ECF No. 4 at 14–15. While
   Plaintiffs make compelling arguments under the CARD Act, TILA, and
   APA, the Court need not address them because the Fifth Circuit has
   held that the CFPB’s funding structure is unconstitutional. Based on
   that precedent, and as further explained below, a preliminary injunction
   is warranted here.

      1. Likelihood of Success on the Merits

       To obtain a preliminary injunction, Plaintiffs must show a
   substantial likelihood of success on the merits. See Ladd, 777 F.3d at
   288. They do. In Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, the Fifth
   Circuit held that Congress’s decision to abdicate its appropriations
   power to the CFPB violates the Constitution’s structural separation of
   powers. See 51 F.4th 616, 623 (5th Cir. 2022). Under the CFPB’s novel
   self-funding scheme, the CFPB requests and receives a self-determined
   amount of funding directly from the Federal Reserve, which is itself
   funded outside the appropriations process through bank assessments.
   Thus, the CFPB is double-insulated from Congress’s appropriations
   power. See id. at 638–39. Because the CFPB promulgated its Payday
   Lending Rule through the use of unconstitutional funds, the Fifth
   Circuit vacated the rule. See id. at 643. The CFPB petitioned for a writ
   of certiorari, which the Supreme Court granted last February. See CFPB
   v. Cmty. Fin. Services Ass’n of Am., Ltd., 143 S. Ct. 978 (2023). The
   Supreme Court has yet to issue a ruling on the appeal.

       Here, Plaintiffs argue that the CFPB’s junk fee Final Rule should
   be stayed under the reasoning endorsed by Cmty. Fin. Servs. Ass’n, as it
   was promulgated under the same funding regime. See ECF No. 4 at 14–
   15. The Court agrees. The Fifth Circuit has held that the CFPB’s double-



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   insulated funding scheme is unconstitutional. See 51 F. 4th at 626.
   Consequently, any regulations promulgated under that regime are
   likely unconstitutional as well. Thus, Plaintiffs establish a likelihood of
   success on the merits.

      2. Threat of Irreparable Harm

      Because preliminary injunctions are an “extraordinary and drastic
   remedy,” see Callaway, 489 F.2d at 573, Plaintiffs don’t get one just
   because they are likely to succeed on the merits. In any context,
   injunctive relief “is not a remedy which issues as of course.” Id. But case
   law has long recognized that constitutional violations are irreparable.
   See Nuziard v. Minority Bus. Dev. Agency, 2024 WL 965299 at *44 (N.D.
   Tex. Mar. 5, 2024) (Pittman, J). The issue isn’t so much that Plaintiffs’
   injury could never be repaired by damages, but that damages for their
   injury could not practicably be measured. See Janvey v. Alguire, 647
   F.3d 585, 600 (5th Cir. 2011); Deerfield Med. Ctr. v. City of Deerfield
   Beach, 661 F.2d 328, 338 (5th Cir. 1981). Because damages could not be
   computed that compensate for Plaintiffs’ subjugation to an
   unconstitutional rule, Plaintiffs establish this injunctive-relief factor.

      3. Balance of Interests

       The last two elements in the injunctive-relief analysis “merge when
   the Government is the opposing party.” Nken v. Holder, 556 U.S. 418,
   435 (2009). The Court must first examine “the relative harm to both
   parties if the injunction is granted or denied.” Def. Distrib. v. U.S. Dep’t
   of State, 838 F.3d 451, 459 (2016). If the Court denies an injunction here,
   Plaintiffs face an enormous undertaking based upon a potentially
   unconstitutional rule. See generally ECF No. 4. If the Court grants an
   injunction, the CFPB is relatively unaffected because the Final Rule has
   not yet gone into effect. But the Court must still assess public interests.
   For this consideration, “it’s unclear whether an injunction must further
   public interests or preserve the status quo.” Nuziard, 2024 WL 965299,
   at *45. The Fifth Circuit usually goes with the “do-no-harm” approach,
   so the Court applies it here. See, e.g., Defense Distrib., 838 F.3d at 457.
   Again, as the Final Rule has not yet gone into effect, the status quo
   would necessarily be preserved by granting injunctive relief. See Wenner



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   v. Tex. Lottery Comm’n, 123 F.3d 321, 326 (5th Cir. 1997) (“It is well
   settled that the issuance of a prohibitory injunction freezes the status
   quo, and is intended ‘to preserve the relative positions of the parties
   until a trial on the merits can be held.’ Preliminary injunctions
   commonly favor the status quo and seek to maintain things in their
   initial condition so far as possible until after a full hearing permits final
   relief to be fashioned.” (citation omitted) (quoting Univ. of Tex. v.
   Camenisch, 451 U.S. 390, 395 (1981)).

       For the above reasons, the Court GRANTS Plaintiffs’ Motion for a
   Preliminary Injunction (ECF No. 3) and STAYS the CFPB’s amendment
   to Regulation Z, 12 C.F.R. § 1206.3

                                 *       *       *

   B. The Court’s Case Management
      Having made particularized findings on the preliminary injunction,
   the Court must address concerns laid out in the Fifth Circuit’s recent
   opinions. See ECF Nos. 77, 81. In particular, the majority stated the
   undersigned “did not act promptly with regard to the Chamber’s motion
   for a preliminary injunction.” ECF No. 81 at 7. The Court must
   respectfully disagree with its appellate court colleagues that it did not
   act “promptly” or was otherwise dilatory or sluggish in its resolution of
   the preliminary injunction. The preliminary injunction had been
   pending for seven days when it reached the undersigned’s docket, as the
   Motion was filed on March 7 and the case was transferred from Judge

      3 For the record, the Court clarifies an issue that has gone unaddressed,

   but that the Court did not make findings on before initially transferring the
   case, due to the truncated nature of the record. Much was argued by the CFPB
   concerning standing of the Fort Worth Chamber of Commerce to bring this
   suit. See ECF No. 23 at 15–19. The Court wants to make clear that the Fort
   Worth Chamber of Commerce does qualify for associational standing. In
   support of this holding, the Court adopts the detailed standing analysis
   conducted by other federal district courts in the Fifth Circuit involving
   challenging federal administrative rules by the Chamber of Commerce on
   behalf of its members. See Chamber of Commerce of United States of Am. v.
   CFPB, No. 6:22-cv-00381, 2023 WL 5835951, at *6–7 (E.D. Tex. Sept. 8, 2023)
   (Barker, J.); see also Chamber of Commerce of United States v. IRS, No. 1:16-
   cv-944-LY, 2017 WL 4682050, at *2 (W.D. Tex. Oct. 6, 2017) (Yeakel, J.).




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   O’Connor on March 14. Review of the docket shows the case was
   officially docketed with the undersigned at 3:29 p.m. (CDT) on March
   14. After reviewing the pending preliminary injunction briefing—which
   totaled in excess of eighty pages—the Court ordered expedited briefing
   to address venue issues the Court identified in its review. See ECF No.
   45. That order was docketed at 4:59 p.m. (CDT) on Monday, March 18,
   only two business days after the case was received.

      At 4:57 p.m. (CDT) on Tuesday, March 19, Plaintiffs filed their
   motion for expedited consideration and noted that they would consider
   the request “effectively denied” if the Court did not issue a ruling by
   Friday, March 22. See ECF No. 47 at 2. Doing the math, this means the
   Court would have needed to rule on the preliminary injunction in just
   under six business days to meet Plaintiffs’ demands. In the meantime,
   the Court had criminal sentencing dockets on both March 19 and March
   21, as well as regular docket management of the 218 open cases the
   Court had in March. In fact, the undersigned entered in excess of 75 civil
   orders between March 14 and March 22.4



      4  It is also worth noting that, since October 2023, the undersigned has
   opened and termed 232 and 307 cases respectively. Both of these totals are the
   second most of the sixteen active judges in the Northern District of Texas. The
   only judge who opened and termed more cases during this time was fellow Fort
   Worth judge, Judge Reed O’Connor. On that note, compare the average times
   from indictment to trial (criminal) and complaint to trial (civil) in Dallas and
   Fort Worth. In Dallas, the average criminal case took 38 months to proceed
   from indictment to trial. The average in Fort Worth is 5 months. In Dallas, the
   average civil case took 35 months to proceed from complaint to trial. The
   average in Fort Worth is 16 months.
       Worth reviewing as well is the recent analysis performed by Judge
   O’Connor of the overall number of filings in the Fort Worth Division
   determining that, on average, the Fort Worth Division handles 2-3 times the
   cases the Dallas Division. X Corp. v. Media Matters for Am., No. 4:23-CV-
   01175-O, 2024 WL 1895255, at *7 (N.D. Tex. Apr. 26, 2024) (O’Connor, J.); see
   also ECF No. 51. Like Judge O’Connor in X Corp., the Court does not recite
   these statistics to complain, but rather to dissuade its honorable colleagues on
   the Fifth Circuit that it was laggard its sworn duty to move this (or any case)
   along in a prompt manner.

      .



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      To speed the case along, the Court set a preliminary injunction
   hearing for April 2, should it find transfer improper. See ECF No. 63.
   Presumably, the Court would have heard arguments and rendered a
   prompt decision on the injunctive relief sought. That would have all
   occurred more than a month before the Final Rule went into effect.
   However, as explained, the Court determined the case did not belong in
   Fort Worth and granted the transfer motion before the hearing took
   place. The Court’s colleagues on the Fifth Circuit suggested the Court
   should have stayed the transfer while the appeal was pending. See ECF
   No. 71 at 22. The Court considered this action. But insofar as time was
   of the essence, the Court found transfer more appropriate. However, the
   Court welcomes further guidance from the Court of Appeals as to
   whether a district court must first rule on an injunction motion before it
   can transfer a case.

   C. The Court’s Docket-Management Authority

      This naturally segues to the Court’s next concern. In their last order,
   the Fifth Circuit ordered this Court to make particularized findings and
   render a decision in ten days. See ECF No. 77 at 2. While the Court has
   the utmost deference for its colleagues on the appellate court, it
   respectfully notes that this seems to be a usurpation of the Court’s
   docket-management authority, especially considering precedents in the
   Fifth Circuit’s order. For example, In Gen Land Off. v. Biden, the Fifth
   Circuit remanded with instructions for the district court to “act
   expeditiously” on a preliminary injunction. See 71 F.4th 264, 275 (5th
   Cir. 2023). But here the Court of Appeals gives a specific date to enter
   findings, ten days to be specific. Certainly, under 28 U.S.C. § 1657(a),
   district courts must prioritize civil actions involving requests for
   injunctive relief. But under the Speedy Trial Act, incoming criminal
   cases have priority over civil cases. See 18 U.S.C.A. § 3166. If a party in
   a civil case can manipulate the system in order to have a district court
   be forced by an appellate court to act in a specific number of days,
   problems will arise.5 District courts are entrusted to manage their own

      5 For instance, what if a trial court is in the middle of six-week criminal

   trial when it received an order to act in a civil case in a specific number of days?
   Does the trial court have to send the jury home to rule on a motion because the


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    dockets. See Link v. Wabash R.R. Co., 370 U.S. 626, 630–31 (1962)
    (holding that trial courts possess inherent power to “manage their own
    affairs so as to achieve an orderly and expeditious disposition of cases”).

       In this regard, the Court would appreciate additional clarity and
    instruction from the Fifth Circuit regarding the circumstances in which
    a party can instruct a trial court to rule and dictate the Court’s terms
    and timeline. Here, Plaintiffs insisted they needed a quick ruling to
    implement a voluntary policy of printing updated disclosures for their
    customers. See ECF No. 48 at 6. The Court is concerned that this case
    opens the door for “mischief” wherein plaintiffs can come up with
    creative reasons for demanding prompt preliminary-injunction rulings
    under a dictated timeline.6

       The Court had this case for only twenty-one days before transferring
    it to the District of Columbia—and that includes the time the case was
    before Judge O’Connor. That was over ten weeks before the Final Rule
    goes into effect. The case was then pending before the appellate court
    thirty-seven days from the time of the interlocutory appeal to the date
    of remand. During this five-week period, the Court is confident that the
    District Court for the District of Columbia could have held a
    preliminary-injunction hearing (if they so chose) and ruled on the merits

    plaintiff tells them to? Would the trial court violate the criminal defendant’s
    rights by ruling on the civil motion first?
        6Of note, the preliminary injunction motion at issue here was only with this

    Court about two weeks before Plaintiffs appealed and has “sat” for just over
    two months at the time of this Order, significantly less time than any of the
    cases cited in the majority opinion. See ECF No. 81 at 7 n.12 (citing In re
    Clarke, 94 F.4th 502, 509 (5th Cir. 2024) (three months); McCoy v. La. State
    Bd. of Educ., 332 F.2d 915, 916–17 (5th Cir. 1964) (four months); United States
    v. Lynd, 301 F.2d 818, 820 (5th Cir. 1962) (eight months).
        The Court is even more perplexed as why Plaintiffs did not ask the Court
    for a TRO if time was truly of the essence. This is the standard practice
    provided for under the federal rules. Hassani v. Napolitano, 2009 WL 2044596
    at *1 (N.D. Tex. July 15, 2009) (Fitzwater, C.J.). (A TRO is “simply a highly
    accelerated and temporary form of preliminary injunctive relief.”). Here,
    Plaintiffs attest that they did not file a TRO “out of consideration for this
    Court’s resources” and instead it appears that they made the decision to use
    the appellate process to command to the Court to order relief they need on the
    timeline when they need it. ECF No. 48 at 6.




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    of Plaintiffs’ request.7 The Court possessed and still possesses full faith
    in the District Court for the District Court of Columbia to make a just
    and fair ruling on Plaintiffs’ motion. If parties cannot have faith that the
    legal system operates with integrity and full credence in the law, then
    the system is already broken. We must trust the system.

                                    *      *       *

       In conclusion, the Court rejects the notion that it did not act
    “promptly” with respect to the Plaintiffs’ preliminary-injunction motion.
    On the contrary—and as the record plainly shows—the undersigned
    received the case on March 14 (ECF No. 39), Plaintiffs moved for
    expedited consideration on March 19 (ECF No. 47), Plaintiffs filed an
    interlocutory appeal on March 25 (ECF No. 57), and the Court
    transferred the case to the D.D.C on March 28 (ECF No. 67). That all
    happened in two weeks. See generally ECF No. 81 at 25 (noting a
    requirement that trial courts rule on a motion “in less than two weeks
    from assignment of [a] case” would be “an impossible law for [the
    Circuit] to impose”). In any event, as explained, a district court has
    broad discretion and inherent authority to manage its docket. See Link,
    370 U.S. at 630–31. That’s what it did here, much to the apparent
    dismay of the Fifth Circuit.

       7
         In his concurrence, Judge Oldham suggested that this Court “appeared to
    analyze the motion to transfer with an eye towards discouraging forum and /
    or judge-shopping” and that the Court should not consider forum shopping
    because the Fifth Circuit and Supreme Court has not enumerated that as a
    transfer consideration. ECF No. 81 at 22–23. This Court whole-heartedly
    agrees with the Judge’s learned observation. Forum-shopping was immaterial
    for the Court’s substantive transfer analysis in this case. In fact, the
    undersigned has transferred over a dozen cases since 2019, with no mention
    that the transfer analysis was motivated by venue-shopping concerns. See, e.g.,
    Inst. for Free Speech v. Johnson, No. 4:23-cv-0808-P, 2023 WL 7420281 (N.D.
    Tex. Nov. 8, 2023) (Pittman, J.); First Call Int’l, Inc. v. S&B Glob., Inc., No.
    4:23-cv-00199-P, 2023 WL 7389007 (N.D. Tex. Nov. 8, 2023) (Pittman, J.);
    BNSF Ry. Co. v. Float Alaska IP, LLC, No. 4:22-cv-0950-P, 2023 WL 3591683
    (N.D. Tex. May 22, 2023) (Pittman, J.); Career Colls. & Sch. of Tex. v. United
    States Dep’t of Educ., No. 4:23-CV-0206-P, 2023 WL 2975164 (N.D. Tex. Apr.
    17, 2023) (Pittman, J.). This time was no different. And if adequate jurisdiction
    was found in this Court, it would still transfer this case for the reasons
    articulated in its original transfer order. See ECF No. 67.



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                  UNITED STATES DISTRICT COURT
              FOR THE
    Case: 24-10248      NORTHERN
                      Document: 113 DISTRICT    OF TEXAS
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    REGINALEA KEMP,
                                CONCLUSION
       Plaintiff,
        General George S. Patton, Jr. famously said “Never tell people how
    to do things. Tell them what to do and they will surprise you with their
    v.                                               No. 4:23-cv-00841-P
    ingenuity.” General George S. Patton Jr., War as I Knew It 275 (1947).
    REGIONS
    The   Court Baccepts AL.,rulings of Fifth Circuit in this case without
                  ANK ETthe
    passion or prejudice and will apply its guidance to the utmost of its
       Defendants.
    ability. However, this Court would be remiss it did not point out the
    potential landmines the court’sORDER
                                     ruling could pose for a trial judge’s day-
        Before
    to-day     the Court is Plaintiff’s
            docket-management           Unopposed
                                  discretion,         Motion
                                               especially  in for Leave
                                                              a busy     to File
                                                                       division.
    Second Amended
    Parties  should notComplaint.
                        be allowedECF   No. 18. Having
                                    to manipulate   the considered  thetoMotion
                                                         court system     order
    and applicable
    trial           docket
          judges “how”,    entries,
                        “what”, andthe  Court
                                     “when”  toGRANTS
                                                rule.      the Motion.

        SO ORDERED
       For              on this the
            the above reasons,  18thCourt
                                     day of September
                                          GRANTS       2023. preliminary
                                                   Plaintiffs’
    injunction motion (ECF No. 3) and STAYS the CFPB’s amendment to
    Regulation Z, 12 C.F.R. § 1206 (“Final Rule”).

       SO ORDERED on this 10th day of May 2024.



                          ______________________________________________
                          Mark T. Pittman
                          UNITED STATED DISTRICT JUDGE




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